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                                                               FILED: April 24, 2023


                          UNITED STATES COURT OF APPEALS
                              FOR THE FOURTH CIRCUIT


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                                       No. 23-1059
                                     (10-CC-276241)
                                     (10-CE-271046)
                                     (10-CE-271053)
                                     (10-CC-276207)
                                     (10-CE-276221)
                                     (10-CC-276208)
                                     (10-CE-271047)
                                     (10-CE-271052)
                                     (10-CE-276185)
                                  ___________________

        SOUTH CAROLINA STATE PORTS AUTHORITY

                    Petitioner

        THE STATE OF SOUTH CAROLINA; UNITED STATES MARITIME
        ALLIANCE, LTD.

                    Intervenors

        v.

        NATIONAL LABOR RELATIONS BOARD

                    Respondent

        INTERNATIONAL LONGSHOREMEN'S ASSOCIATION, LOCAL 1422;
        INTERNATIONAL LONGSHOREMEN'S ASSOCIATION
USCA4 Appeal: 23-1059       Doc: 85       Filed: 04/24/2023     Pg: 2 of 2



                       Intervenors

        ------------------------------

        NATIONAL RIGHT TO WORK LEGAL DEFENSE FOUNDATION;
        CHAMBER OF COMMERCE OF THE UNITED STATES OF AMERICA;
        SOUTH CAROLINA CHAMBER OF COMMERCE; NATIONAL
        ASSOCIATION OF MANUFACTURERS; SOUTH CAROLINA
        MANUFACTURERS ALLIANCE; GOVERNOR HENRY MCMASTER

                       Amici Supporting Petitioner

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                                              ORDER
                                         ___________________

               Upon consideration of the joint motion to extend the filing times, the court

        grants the motion with the exception of the Petitioners’ reply brief and responses,

        which must be filed by May 30, 2023.

                                                For the Court

                                                /s/ Patricia S. Connor, Clerk
